






-










IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-67,807-01






EX PARTE ROBERT GREENLEE, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 241-1038-05-A IN THE 241ST  DISTRICT COURT


FROM SMITH COUNTY






	Per curiam.


O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the clerk of
the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte Young, 418
S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of burglary of a building and
sentenced to twenty years' imprisonment.   

	Applicant contends that his counsel rendered ineffective assistance because  counsel failed to timely
file an adequate notice of appeal.  Applicant alleges that counsel filed a notice of appeal which did not
include the necessary certificate of appealability.  Applicant alleges that the Twelfth Court of Appeals
informed counsel that the appeal would be dismissed if an amended notice was not filed and counsel failed
to file an amended notice within the Court of Appeal's time frame, causing Applicant's appeal to be
dismissed.  Applicant alleges he was never informed of the need to file an amended notice of appeal and
that his attorney never informed him of the dismissal of his appeal.

	Applicant has alleged facts that, if true, might entitle him to relief.  Strickland v. Washington, 466
U.S. 608 (1984); Ex parte Lemke, 13 S.W.3d 791,795-96 (Tex. Crim. App. 2000).   In these
circumstances, additional facts are needed.  As we held in Ex parte Rodriguez, 334 S.W.2d 294, 294
(Tex. Crim. App. 1997), the trial court is the appropriate forum for findings of fact.  The trial court shall
provide counsel with the opportunity to respond to Applicant's claim of ineffective assistance of counsel
on appeal.  The trial court may use any means set out in Tex. Code Crim. Proc. art. 11.07, § 3(d). 

	If the trial court elects to hold a hearing, it shall determine whether Applicant is indigent. If
Applicant is indigent and wishes to be represented by counsel, the trial court shall appoint an attorney to
represent Applicant at the hearing.  Tex. Code Crim. Proc. art. 26.04. 

	The trial court shall make findings of fact as to whether Applicant was denied his right to a
meaningful appeal because Applicant's counsel failed to timely file an adequate notice of appeal.  The trial
court shall also make any other findings of fact and conclusions of law that it deems relevant and
appropriate to the disposition of Applicant's claim for habeas corpus relief.

	This application will be held in abeyance until the trial court has resolved the fact issues.  The issues
shall be resolved within 90 days of this order.  If any continuances are granted, a copy of the order granting
the continuance shall be sent to this Court.  A supplemental transcript containing all affidavits and
interrogatories or the transcription of the court reporter's notes from any hearing or deposition, along with
the trial court's supplemental findings of fact and conclusions of law, shall be returned to this Court within
120 days of the date of this order.  Any extensions of time shall be obtained from this Court. 

Filed: August 22, 2007

Do not publish


